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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA



 UNITED STATES OF AMERICA,

                         Plaintiff,
           v.
                                                Civil Action No. 1:17-cv-02028-JMC
 CENTURYLINK, INC.

 and

 LEVEL 3 COMMUNICATIONS, INC.,

                        Defendants.




        STIPULATION FOR ENTRY OF SETTLEMENT AGREEMENT AND ORDER

         WHEREAS Plaintiff United States of America filed a Petition for an Order to Show

Cause Why Defendant CenturyLink, Inc. Should Not Be Found in Civil Contempt (“Petition to

Show Cause”) on September 2, 2021;

         AND WHEREAS Plaintiff United States and Defendant CenturyLink n/k/a Lumen

Technologies, Inc. (“CenturyLink”) have agreed upon a resolution of this matter without any

admission or determination of wrongdoing by CenturyLink and without any findings or

adjudication with respect to any issue of fact of law;

         IT IS HEREBY STIPULATED AND AGREED by and between the undersigned parties

that:

    1. This Court has jurisdiction over the subject matter of this action and each of the parties
       to this action.




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    2. The parties hereby consent to the Court’s entry of the proposed Settlement Agreement
       and Order in the form attached to this Stipulation, and without further notice to any party
       or any proceeding.

    3. Entry of the proposed Settlement Agreement and Order will discharge and resolve any
       and all claims of the United States against CenturyLink arising out of CenturyLink’s
       alleged violations of Paragraph IV(L)(2) of the Amended Final Judgment, as described
       in the Petition to Show Cause.

    4. Neither this Stipulation nor the proposed Settlement Agreement and Order shall be
       construed to preclude the United States from bringing an action against CenturyLink for
       any violation of the Amended Final Judgment other than the alleged violations described
       in Paragraph 3, above.

    5. In the event the United States withdraws its consent, or if the Settlement Agreement and
       Order is not entered pursuant to this Stipulation, this Stipulation shall be of no effect
       whatever, the making of it shall be without prejudice to any party in this or any other
       proceeding, and it shall not thereafter be used in this or any other action, or for any other
       purpose.


Dated: September 2, 2021                               Respectfully submitted,

PLAINTIFF UNITED STATES:                               DEFENDANT CENTURYLINK, INC:


 /s/ Ashley D. Kaplan                                    /s/ LaMar F. Jost
 Ashley D. Kaplan                                        Kathryn A. Reilly (admission pending)
 U.S. Department of Justice, Antitrust Division          LaMar F. Jost
 Office of Decree Enforcement &                          Wheeler Trigg O’Donnell LLP
 Compliance                                              370 17th Street, Suite 4500
 450 Fifth Street, N.W.                                  Denver, CO 80202-5647
 Washington, DC 20530                                    Telephone: (303) 244-1800
 Telephone: (202) 598-8784                               reilly@wtotrial.com
 Facsimile: (202) 514-6381                               jost@wtotrial.com
 Ashley.Kaplan@usdoj.gov




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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA



 UNITED STATES OF AMERICA,

                        Plaintiff,
         v.
                                               Civil Action No. 1:17-cv-02028-JMC
 CENTURYLINK, INC.

 and

 LEVEL 3 COMMUNICATIONS, INC.,

                       Defendants.




                       SETTLEMENT AGREEMENT AND ORDER

       WHEREAS Plaintiff United States of America having filed its Petition for an Order to

Show Cause Why Defendant CenturyLink, Inc. Should Not Be Found in Civil Contempt

(“Petition to Show Cause”) on September 2, 2021, and the United States and CenturyLink n/k/a

Lumen Technologies, Inc. (“CenturyLink”) having consented to the entry of this Settlement

Agreement and Order without trial or adjudication of any issue of fact or law herein, and without

this Settlement Agreement and Order constituting any evidence against or an admission by

CenturyLink with respect to any allegation contained in the Petition to Show Cause;

       AND WHEREAS CenturyLink agrees to be bound by the provisions of this Settlement

Agreement and Order pending its approval by the Court;

       NOW, THEREFORE, before the taking of any testimony and without any adjudication of

fact or law herein, and upon the consent of the parties hereto, it is hereby ORDERED,

ADJUDGED, and DECREED as follows:

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                                      I.      JURISDICTION

       This Court has jurisdiction over the subject matter of this action and each of the parties

consenting hereto under Section XIII of the Amended Final Judgment entered by this Court on

August 17, 2020, in United States v. CenturyLink, Inc., et al., Civil Action No. 1:17-cv-02028-

KBJ (D.D.C.).

                             II.    APPLICABILITY AND EFFECT

       A.       The provisions of this Settlement Agreement and Order shall be binding upon

   CenturyLink, its successors and assigns, and those persons in active concert or participation

   with CenturyLink who receive actual notice of this Settlement Agreement and Order.

       B.       This Settlement Agreement and Order constitutes a full and complete disposition

   of CenturyLink’s alleged violations of Paragraph IV(L)(2) of the Amended Final Judgment,

   as described in the Petition to Show Cause.

       C.       Nothing in this Settlement Agreement and Order shall bar the United States from

   seeking, or the Court from imposing on CenturyLink, any other relief for any violation of the

   Amended Final Judgment other than the alleged violations set forth in the Petition to Show

   Cause or for any violation of this Settlement Agreement and Order.

                                     III.   CIVIL PAYMENT

       A.       Within thirty (30) days of entry of this Settlement Agreement and Order,

   CenturyLink shall pay $275,000, which includes reimbursement to the United States for its

   costs and attorneys’ fees incurred during its investigation of the alleged violations described

   in the Petition to Show Cause.

       B.       The payment specified in Paragraph III(A) shall be made by wire transfer or

   cashier’s check. If the payment is to be made by wire transfer, prior to making the transfer

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   Defendant will contact the Budget and Fiscal Section of the Antitrust Division’s Executive

   Office at ATR.EXO-Fiscal-Inquiries@usdoj.gov for instructions. If the payment is to be

   made by cashier’s check, the check must be made payable to the United States Department of

   Justice and delivered to:

                         Chief Budget & Fiscal Section
                         Executive Office, Antitrust Division
                         United States Department of Justice
                         Liberty Square Building
                         450 Fifth Street, N.W., Room 3016
                         Washington, DC 20530

          C.       In the event of a default in payment, interest at the rate of eighteen (18) percent

   per annum shall accrue thereon from the date of default to the date of payment.

          D.     CenturyLink shall not claim this payment, in whole or in part, as a deductible

   expense by CenturyLink, its subsidiaries, divisions, or affiliates for tax purposes under any

   state tax code, the United States Tax Code, or the tax code of any other country.

                               IV.     RETENTION OF JURISDICTION

          Jurisdiction is retained by this Court for the purpose of enabling the parties of this

Settlement Agreement and Order to apply to this Court at any time for further orders and

directions as may be necessary or appropriate to carry out or construe this Settlement Agreement

and Order, for the enforcement of compliance herewith, and for the punishment of any violations

hereof.



Date: February 22, 2022

                                                         Jia M. Cobb
                                                         United States District Judge




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